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                                                                         FILED: June 9, 2025

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

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                                                No. 25-1153
                                           (8:25-cv-00201-DLB)
                                          ___________________

        CASA, INC.; ASYLUM SEEKER ADVOCACY PROJECT, INC.; MARIBEL,
        Individually and as next friend to her future child, c/o CASA, Inc.; JUANA,
        Individually and as next friend to her future child, c/o CASA, Inc.; TRINIDAD
        GARCIA, Individually and as next friend to her future child, c/o Asylum Seeker
        Advocacy Project; MONICA, Individually and as next friend to her future child,
        c/o Asylum Seeker Advocacy Project; LIZA, Individually and as next friend to
        her future child, c/o Institute for Constitutional Advocacy and Protection

                       Plaintiffs - Appellees

        v.

        DONALD J. TRUMP, In his official capacity as President of the United States,
        c/o Attorney General of the United States; SECRETARY OF THE UNITED
        STATES DEPARTMENT OF STATE, In their official capacity; ATTORNEY
        GENERAL OF THE UNITED STATES, In their official capacity; SECRETARY
        OF THE UNITED STATES DEPARTMENT OF HOMELAND SECURITY, In
        their official capacity, c/o Office of the General Counsel; DIRECTOR OF
        UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES, In their
        official capacity, c/o Office of the Chief Counsel; COMMISSIONER OF THE
        SOCIAL SECURITY ADMINISTRATION, In their official capacity, c/o Office
        of the Chief Counsel; UNITED STATES OF AMERICA, c/o Attorney General of
        the United States

                       Defendants - Appellants

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        MEMBERS OF CONGRESS; THE STATE OF TENNESSEE; AMERICA'S
        FUTURE; CITIZENS UNITED; CONSERVATIVE LEGAL DEFENSE AND
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        EDUCATION FUND; GUN OWNERS FOUNDATION; IMMIGRATION
        REFORM LAW INSTITUTE; GUN OWNERS OF AMERICA, INC.; FORMER
        NATIONAL SECURITY OFFICIAL JOSHUA STEINMAN; LEADERSHIP
        INSTITUTE; U.S. CONSTITUTIONAL RIGHTS AND LEGAL DEFENSE
        FUND

                      Amici Supporting Appellants

        IMMIGRATION LAW SCHOLAR KRISTIN COLLINS; IMMIGRATION LAW
        SCHOLAR GERALD NEUMAN; IMMIGRATION LAW SCHOLAR RACHEL
        ROSENBLOOM; FRED T. KOREMATSU CENTER FOR LAW & EQUALITY;
        ASIAN AMERICAN LEGAL DEFENSE AND EDUCATION FUND; CENTER
        FOR CIVIL RIGHTS AND CRITICAL JUSTICE; 84 ADDITIONAL
        NONPROFIT AND GRASSROOTS ORGANIZATIONS AND RACE AND
        LAW CENTERS; NATIONAL ASIAN PACIFIC AMERICAN BAR
        ASSOCIATION, ET AL.; FREE SPEECH FOR PEOPLE; TAHIRIH JUSTICE
        CENTER; HARBORCOV; ASISTA; 31 ADDITIONAL NON-PROFIT
        ORGANIZATIONS SERVING IMMIGRANT SURVIVORS OF DOMESTIC
        VIOLENCE, SEXUAL ASSAULT, AND HUMAN TRAFFICKING;
        SCHOLARS OF CONSTITUTIONAL LAW AND IMMIGRATION; SECURE
        FAMILIES INITIATIVE; PROFESSOR PAUL FINKELMAN; PROFESSOR
        GABRIEL J. CHIN; PROFESSOR ERIKA LEE; MEMBERS OF THE U.S.
        CONGRESS; HUMAN RIGHTS FIRST; UNITED STATELESS; WOMEN'S
        REFUGEE COMMISSION; NATIONAL ASSOCIATION FOR THE
        ADVANCEMENT OF COLORED PEOPLE; THE LEAGUE OF WOMEN
        VOTERS; THE EQUAL JUSTICE SOCIETY; LOCAL GOVERNMENTS AND
        LOCAL GOVERNMENT OFFICIALS

                      Amici Supporting Appellees


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                                            ORDER
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              Local Governments and Local Government Officials have filed an amicus

        curiae brief with the consent of the parties.

              The court accepts the brief for filing.
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              Local Governments and Local Government Officials is directed to file an

        appearance form within three days of the date of this order.

                                               For the Court--By Direction

                                               /s/ Nwamaka Anowi, Clerk
